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UNITED   STATES DISTRICT COURT
SOUTHERN DI STRICT
                OF NEW YORK
--------------------------------X

RENE   TELLIER ,


                           Petitioner,                 OPINION

              -against-                           97 Civ. 8747 (MGC)

UNITED STATES OF AMERICA


                    Respondent.
--------------------------------X

CEDARBAUM, J.

         Rene Tellier petitions to vacate his conviction

pursuant to 28 U.S.C. § 2255.            The grounds asserted are: (1)

he was denied effective assistance of counsel and (2) he was

denied a fair trial as a result of prosecutorial misconduct.

Petitioner also seeks discovery on those claims.            For the

reasons discussed below, petitioner’s request for discovery

and the petition to vacate his conviction are denied.

                                 BACKGROUND

         On March 3, 1994, a jury found petitioner guilty of

participating in a racketeering enterprise, racketeering

conspiracy, using and carrying a firearm during and in

relation to a crime of violence, robbery conspiracy, and

using interstate commerce facilities in the commission of

murder-for-hire.        Petitioner was sentenced on November 29,

1994 to life imprisonment, one consecutive term of



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imprisonment of five years, an additional consecutive term

of imprisonment of twenty years, and four concurrent terms

of imprisonment of twenty years.      Petitioner, represented by

the same counsel for both trial and direct appeal, appealed

from his conviction on several grounds, including that the

government failed to disclose exculpatory evidence.         On May

10, 1996, the Second Circuit issued an unpublished summary

order affirming petitioner’s conviction.       United States v.

Tellier, Nos. 94 Cr. 1647, 94 Cr. 1687, 95 Cr. 1014, 94 Cr.

1451 (2d Cir. 1996).    On October 21, 1996, the United States

Supreme Court denied his petition for a writ of certiorari.

Tellier v. United States, 519 U.S. 955 (1996).

     Petitioner filed an initial Section 2255 petition on

October 19, 1997, and amended petitions on January 28, 1999

and April 4, 2000.    Petitioner also filed a motion to amend

his petition on January 14, 2002.      On March 7, 2005,

petitioner joined codefendant Robin Tellier’s Fed. R. Civ.

P. 60(b) motion for relief from judgment on the basis of the

Supreme Court’s decision in Crawford v. Washington, 541 U.S.

36 (2004).




                           DISCUSSION

                     I. Timeliness of Claims


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     Strict time limits govern motions for relief under

Section 2255:

     A 1-year period of limitation shall apply to a
     motion under this section. The limitation period
     shall run from the latest of--

     (1) the date on which the judgment of conviction
     becomes final;
     (2) the date on which the impediment to making a
     motion created by governmental action in violation
     of the Constitution or laws of the United States
     is removed, if the movant was prevented from
     making a motion by such governmental action;
     (3) the date on which the right asserted was
     initially recognized by the Supreme Court, if that
     right has been newly recognized by the Supreme
     Court and made retroactively applicable to cases
     on collateral review; or
     (4) the date on which the facts supporting the
     claim or claims presented could have been
     discovered through the exercise of due diligence.

     Petitioner’s first petition was timely filed within one

year of the date on which his conviction became final.         The

subsequent amendments to that petition, however, were

submitted more than two years later.      Petitioner argues that

the amendments are timely because under Fed. R. Civ. P.

15(c), they relate back to the filing date of the first

petition.

     Rule 15(c) provides that an amended pleading relates

back to the date of the original pleading when “the claim

or defense asserted in the amended pleading arose out of the

conduct, transaction, or occurrence set forth or attempted to

be set forth in the original pleading.”       The Supreme Court


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has held that amendments to a Section 2255 petition will only

relate back to the original petition under Rule 15(c) if the

new claims and the claims asserted in the original petition

“are tied to a common core of operative facts.”        Mayle v.

Felix, 125 S. Ct. 2562, 2574, 162 L. Ed. 2d 582, 598 (2005).

New claims in the amended petition that merely arise out of

the same “trial, conviction, or sentence” as the claims in

the original petition do not relate back to the original

petition filing date under Rule 15(c).       Id.   The Court

reasoned that “[i]f claims asserted after the one-year period

could be revived simply because they relate to the same

trial, conviction, or sentence as a timely filed claim, [the

statute’s] limitation period would have slim significance.”

Id. at 2573-74.

     All of petitioner’s amended claims relating to the

conduct of his counsel during the course of the trial are

untimely because they do not arise out of any conduct,

transaction, or occurrence that was set forth or attempted

to be set forth in the first petition and therefore do not

relate back to the filing date of that petition.        As newly

asserted claims filed after October 1997, those claims are

untimely because they were filed more than a year after the

date on which petitioner’s conviction became final.         See 28

U.S.C. § 2255(1).   Petitioner does not allege any facts to


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suggest that his claims are timely under any of the other

one-year limitation periods listed in 28 U.S.C. §§ 2255(2)-

(4).

       Petitioner’s untimely claims are: (1) that counsel

failed to submit for the court’s consideration petitioner’s

proposed jury voir dire; (2) that counsel failed to secure

the attendance of Dominic DeVito to testify that William

D’Angelo was the person “solely responsible for the murder”

of Tina Smith; (3) that counsel failed to secure the

attendance of Anthony Brown to testify regarding the

Antonovich Fur robbery; (4) that counsel failed to secure

the attendance of James Innes and Kerry Flaherty regarding

the attempted murder of James Innes; (5) that counsel failed

to object to the government’s improper remarks during

closing argument in relation to the murder-for-hire charge;

(6) that counsel failed to secure the attendance of Ronald

Bower to testify regarding the robbery of Sterns department

store; (7) that counsel, without petitioner’s consent,

waived petitioner’s right of confrontation by entering into

stipulations with the government that conceded certain

facts; (8) that counsel failed to challenge the perjury of

government witnesses Charles Schrader and William D’Angelo;

(9) that counsel failed to call and impeach the ADT security

guard regarding the robbery of Consumer Distributors; (10)


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that counsel failed to secure the attendance of witnesses

who were identified in a redacted police report on the

Manhattan Antonovich Furs store robbery; (11) that counsel

failed to call Frank Rizzo or Candi Ku to testify that Robin

Tellier was with them at a nightclub on the night of the

Panuccio murder and failed to investigate and call Richard

Conroy as a witness to testify that William Gabler told

Conroy that Gabler murdered Panuccio; (12) that counsel

failed to investigate and properly cross-examine government

witness Kimberly Tellier; (13) that counsel failed to call

an expert witness to confirm that petitioner’s blood was not

found anywhere at the scene of the attempted murder of James

Innes, and failed to object to the government’s remarks in

closing regarding the attempted murder; and (14) that

counsel failed to move for an inquiry into whether the

special grand jury was validly extended and whether there

were any other structural irregularities in connection with

the special grand jury.

     Petitioner’s claims for relief under the Supreme

Court’s decision in Crawford v. Washington, 541 U.S. 36

(2004) and under United States v. Singleton, 144 F.3d 1343

(10th Cir. 1998), opinion vacated, 165 F.3d 1297 (10th

Cir.)(en banc), cert. denied, 527 U.S. 1024 (1999), also do

not provide a basis for the relief he seeks.        The Second


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Circuit has explicitly held that Crawford is not retroactive

on collateral review.    Mungo v. Duncan, 393 F.3d 327,

336 (2d Cir. 2004).    As for the second claim, Singleton was

never binding authority in this jurisdiction, and has been

overturned by the Tenth Circuit.


            II.Ineffective Assistance of Counsel

     Petitioner argues that his counsel provided ineffective
assistance by (1) failing to investigate and present the
testimony of two alibi witnesses, Howard and Linda Eskenazi,
regarding the John Seychel and Charles Haverty homicides;
(2) failing to introduce testimony to support the
documentary evidence produced by petitioner showing that he
purchased a car in Florida on December 4, 1987 and failing
to request a continuance to locate and subpoena the
witnesses to the car purchase; (3) failing to challenge at
trial and on appeal the “hearsay” testimony of Bruce Rubino
regarding the Haverty homicide; (4) failing to interview
allegedly favorable witnesses Jerry Strivelli and Dominick
Camuti about the Seychel and Haverty homicides; (5) failing
to raise the government’s suppression of a report by an
eyewitness who saw two white males leaving the location
where Tina Smith’s body was found, despite petitioner’s
request that this issue be raised on a second Rule 33 motion
and on appeal; (6) failing to raise the fact that William
D’Angelo, a witness to the Smith homicide, allegedly
testified falsely as to whether he was paid for acting as an
informant; (7) failing to object to the government’s
pretrial motion to admit evidence of forty uncharged crimes
committed by petitioner; and (8) failing to challenge the
prosecution’s failure to prove beyond a reasonable doubt
that the attempted murder-for-hire of James Innes was in
furtherance of petitioner’s racketeering activity.
     In order to prevail on an ineffective assistance of
counsel claim, the defendant must “(1) show that counsel's
conduct fell below ‘an objective standard of reasonableness’
under ‘prevailing professional norms,’ and (2)
‘affirmatively prove prejudice.’” United States v. Kirsh, 54
F.3d 1062, 1071 (2d Cir. 1995)(quoting Strickland v.
Washington, 466 U.S. 668, 688, 693 (1984)). There is “a
strong presumption that counsel’s conduct falls within the


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wide range of reasonable professional assistance.”
Strickland, 466 U.S. at 689. Furthermore, “[a]ctions or
omissions by counsel that might be considered sound trial
strategy do not constitute ineffective assistance.” Mason
v. Scully, 16 F.3d 38, 42 (2d Cir. 1994)(quoting Strickland,
466 U.S. at 689). To show prejudice, a petitioner “must
show that there is a reasonable probability that, but for
counsel's unprofessional errors, the result of the
proceeding would have been different. A reasonable
probability is a probability sufficient to undermine
confidence in the outcome.” Strickland, 466 U.S. at 694.
Petitioner’s claims fail because he cannot show that he was
prejudiced by any of counsel’s alleged errors.

               A. Seychel and Haverty Homicides


     Petitioner raises several claims related to the John

Seychel and Charles Haverty homicides.       First, petitioner

argues that counsel was ineffective for failing to object

to Bruce Rubino’s “hearsay” testimony recounting

petitioner’s statements about the homicides.        However,

petitioner’s statements to Rubino are not hearsay under

Fed. R. Evid. 801(d)(2) and counsel therefore had no reason

to object to the presentation of this testimony.         Second,

petitioner alleges that counsel was ineffective for failing

to interview Jerry Strivelli and Dominick Camuti about the

Seychel and Haverty homicides.       Finally, petitioner argues

that counsel was ineffective for failing to investigate and

present the testimony of two alibi witnesses, Howard and

Linda Eskenazi, who would have testified that petitioner

was in Florida on December 3 and 4, 1987.        Their testimony



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would also have supported the documentary evidence produced

by petitioner showing that he purchased a car in Florida on

December 4, the day of the homicides.

    Petitioner has failed to show that he was prejudiced by

counsel’s allegedly ineffective assistance, that is,

petitioner has failed to show that there is a reasonable

probability that the result of the proceeding would have

been different if counsel had not committed the alleged

errors.   The Seychel and Haverty homicides were just two of

over a dozen predicate acts set forth in the racketeering

charge in the indictment.     The errors alleged by petitioner

in this claim and elsewhere in his petition do not affect

the jury’s findings that petitioner committed the two

predicate acts of conspiring to rob the Antonovich Furs

store in Manhattan and conspiring to rob Consumer

Distributors in Queens.     Therefore, even if counsel’s

alleged ineffective assistance might have altered the

jury’s finding that petitioner committed the Seychel and

Haverty homicides, this finding would not have altered the

verdict against petitioner on the racketeering charges.


                    B. Tina Smith Homicide


    Petitioner argues that counsel was ineffective for

failing to raise on appeal the government’s suppression of


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an allegedly exculpatory report which stated that a witness

saw two white males leaving the location where Tina Smith’s

body was found.   Petitioner argues that this evidence would

have contradicted William D’Angelo’s testimony that there

were three people present when Smith’s body was dumped.

Petitioner also argues that counsel was ineffective for

failing to argue on appeal that William D’Angelo, a witness

to the Smith homicide, testified falsely that he was not

paid for acting as an informant.

    However, petitioner cannot show that he was prejudiced

by counsel’s alleged errors.     There is no reasonable

probability that raising these issues would have resulted

in a different outcome at trial or on appeal.        William

D’Angelo’s motives to lie were fully revealed at trial

during counsel’s cross-examination of D’Angelo about his

use of drugs, his fear of being arrested, his criminal

record and money he received from the government.        The

additional impeachment evidence that petitioner claims

should have been offered at trial would have done little to

cast doubt further on D’Angelo’s testimony.       Moreover, none

of the evidence petitioner cites would have outweighed the

strong evidence corroborating D’Angelo’s testimony about

the Smith homicide, including the testimony of a gas

station attendant who identified petitioner as the person


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who crashed his car into the gas tank island on the night

of the homicide.   The attendant furthermore observed that

the interior of the car was covered with blood.        A New York

police officer also testified that he saw the car that

petitioner used to commit the murder after petitioner and

D’Angelo had set it on fire.


               C. Evidence of Uncharged Crimes


    Petitioner argues that counsel was ineffective for

failing to object to the government’s pretrial motion to

admit evidence of uncharged crimes committed by petitioner.

Petitioner notes that counsel for codefendant Robin Tellier

did eventually object to admission of further uncharged

crime evidence during the trial, after sensing the

prejudicial impact of this evidence on the jury.        However,

petitioner does not show that counsel’s conduct fell below

an objective standard of reasonableness under prevailing

professional norms.    “Actions or omissions by counsel that

might be considered sound trial strategy do not constitute

ineffective assistance.”      Mason v. Scully, 16 F.3d 38, 42

(2d Cir. 1994)(quoting Strickland, 466 U.S. at 689).

Counsel’s actions were taken in furtherance of his strategy

to provide grounds for severance.




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    Furthermore, petitioner fails to show that he was

prejudiced by counsel’s action.      Even if counsel had

objected to the admission of this evidence, it is likely

that most of this evidence would have been admitted.         After

counsel for codefendant Robin Tellier objected to the

admission of further uncharged crimes evidence during the

trial, some uncharged crime evidence was admitted over the

objection in order to allow the government to prove the

existence of the racketeering enterprise.       Petitioner also

fails to allege which uncharged crime evidence prejudiced

him and how the exclusion of this evidence might have

altered the jury’s verdict.     In short, there is no

reasonable probability that the result of the proceeding

would have been different if counsel had objected to the

admission of the uncharged crime evidence.


                      D. Murder for Hire


    Petitioner alleges that counsel was ineffective for

failing, on direct appeal and at trial, to challenge the

prosecution’s failure to prove beyond a reasonable doubt

that the attempted murder-for-hire of James Innes was done

in furtherance of petitioner’s racketeering activity.

However, the government was not required to prove a

connection between the murder-for-hire and the racketeering


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activity because the murder-for-hire charge was not

submitted to the jury as a predicate act of racketeering.


                     V.Government Misconduct


     Petitioner argues that there was egregious and

pervasive government misconduct in this case that deprived

him of due process of law.     Petitioner may not now

relitigate claims of government misconduct that were raised

and addressed on direct appeal.       Riascos-Prado v. United

States, 66 F.3d 30, 33 (2d Cir. 1995).       Furthermore, for any

claims that were not raised on direct appeal, petitioner is

now barred from advancing these claims through a Section

2255 petition unless “he can show cause for his procedural

default and actual prejudice resulting from the error,” or

state a claim of “actual innocence.”       Id. at 34; Rosario v.

United States, 164 F.3d 729, 732 (2d Cir. 1998).         To

establish prejudice, both to overcome the procedural default

and to establish that any undisclosed information was

“material,” petitioner must show that there is a “reasonable

probability” that the result of the trial would have been

different in the absence of the misconduct.        United States

v. Bagley, 473 U.S. 667, 682 (1985).


                A. Claims in Original Petition



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    Petitioner raised several claims of government

misconduct in his first, timely-filed petition.        None of

those claims were raised in petitioner’s direct appeal.

Therefore, petitioner must show cause for his failure to

raise those claims on appeal and must also show that he was

prejudiced by the alleged errors.      Riascos-Prado, 66 F.3d

at 34.

    Petitioner first argues, based on the Department of

Justice’s response to his Freedom of Information Act

(“FOIA”) request, that the government failed to disclose

exculpatory evidence from the FBI’s records relating to the

Phillip Panuccio homicide.     Petitioner argues that the

government committed misconduct by failing to disclose two

newspaper articles that were later released in response to

petitioner’s FOIA request.     Petitioner contends that these

articles support the theory that Panuccio, a former

bodyguard for the late “mob boss” Joseph Colombo, was

murdered in connection with “the 5.8 million dollar

Lufthansa Heist.”   Petitioner also argues that the

Department’s letter responding to the FOIA request shows

that the government failed to disclose exculpatory evidence

from the FBI’s records.    In the letter, the Department

states that, because petitioner had an appeal pending

before the Supreme Court at the time of his FOIA request,


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some of the requested documents could not be released to

him at that time, but that petitioner should resubmit his

request since the appeal was concluded.

    The evidence proffered by petitioner does not support

the conclusion that the government committed misconduct.

The newspaper articles petitioner refers to are public

documents that contain no exculpatory evidence.        As for the

remaining materials in the FBI file that were not released

to petitioner because he had an appeal pending at the time

of his FOIA request, the letter petitioner proffers shows

only that these documents are related to petitioner’s case.

There is no basis to conclude from the letter that these

documents were not previously disclosed to the defense at

trial or that they are exculpatory.

    Petitioner next argues that the government withheld

potentially exculpatory records from the court’s in camera

inspection of the government’s files.        Petitioner bases

this allegation on an email from the FOIA contact for the

Southern District of New York addressed to an Assistant

United States Attorney.    The email states that, with regard

to petitioner’s criminal case, “Records Management has

obtained the following information regarding this case

(physical files): Forty (40) boxes and several file

cabinets are in the building.        There are pending appeal(s).


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Mr. Guy Petrillo knows the particulars.”       Petitioner

alleges, without any evidentiary support, that the

government provided the forty boxes for in camera

inspection prior to the trial, but that the material in the

file cabinets was not provided.      However, there is no

reason to conclude from the proffered email that any of

these documents were not provided to defense counsel at

trial or not provided for in camera review.

    Finally, petitioner alleges that the government

improperly counseled Thomas Hawco, a witness to the

Antonovich Furs store robbery in Brooklyn, to change his

testimony at trial.    The government allegedly counseled

Hawco to describe the men that he observed robbing the

Antonovich Furs store as “olive-skinned,” not Hispanic.

But, petitioner does not show that he was prejudiced by the

alleged misconduct.    At trial, petitioner questioned Hawco

about the inconsistencies in his identifications and about

Hawco’s previous description of the robbers as “Hispanic,”

suggesting that Hawco’s description changed after he had

spoken with the police several times.      In addition, the

Antoniovich Furs robbery in Brooklyn was only one of more

than a dozen predicate acts set forth in the racketeering

charge in the indictment.     The misconduct alleged by

petitioner here and elsewhere in his motion to vacate his


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conviction does not affect the jury’s findings that

petitioner committed the two predicate acts of conspiring

to rob the Antonovich Furs store in Manhattan and

conspiring to rob Consumer Distributors in Queens.         There

is no reasonable probability that the verdict against

petitioner on the racketeering charges would have been

different in the absence of the government’s alleged

coaching of Thomas Hawco.


            B. Claims in February 1999 Amendments


     In petitioner’s 1999 amendments to the petition,

petitioner adds several new claims of government misconduct.

None of these claims were presented in petitioner’s timely-

filed first petition nor do they relate back to the filing

date of that petition under Rule 15(c) because they do not

arise out of any of the same conduct, transactions, or

occurrences set forth or attempted to be set forth in the

original petition.    The new claims are timely under 28

U.S.C. § 2255 only if they were raised within one year of

the date on which “the facts supporting the claim or claims

presented could have been discovered through the exercise of

due diligence” or within one year from “the date on which

the impediment to making a motion created by governmental

action in violation of the Constitution or laws of the


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United States [was] removed.”         28 U.S.C. §§ 2255(2),

2255(4).

     Petitioner does not specify the date on which he

discovered the facts that support these claims.         Nor does he

explain why these facts could not have been discovered

earlier through the exercise of due diligence.         Nor does

petitioner allege that he was impeded from making this

motion by illegal government action.         The date on which

petitioner should have discovered the facts supporting these

claims through the exercise of due diligence is a factual

question.   Wims v. United States, 225 F.3d 186, 190 (2d Cir.

2000).   Petitioner has failed to offer any facts to support

the timeliness of these claims under Section 2255.

Moreover, petitioner has failed to show that he was

prejudiced by the alleged misconduct.

     Petitioner first argues that the government suppressed

exculpatory evidence related to the Jindo Furs robbery.

Petitioner argues that the government failed to disclose

interviews with three eyewitnesses to the theft - David

Vermeal, John Venidis, and Renzy Holloway.         Petitioner,

however, does not provide copies of any documents describing

the alleged interviews.     The only report of a police

interview that petitioner does describe is not exculpatory.

The report, petitioner contends, states that Holloway, a


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Bloomingdales’ security guard, reported seeing three men

placing fur garments in a Camero during the robbery.

Petitioner does not provide a copy of the report.

     Without citing to any documents or other information in

possession of the government, petitioner argues that

witnesses Vermeal and Venidis would have stated at trial

that the robbers appeared to have black skin.        Petitioner

also alleges that Holloway would have stated that a security

guard from his department, whose name Holloway refused to

disclose unless subpoenaed, saw the robbers and said that

they were all black males.     Petitioner does not allege that

these disclosures were contained in any government

documents.   Without any evidence that the government was in

possession of this information, it is not possible to

conclude that the government committed a Brady violation.

     Petitioner also alleges that the government failed to

disclose a printout of witness Basil Reece’s 911 call about

the Model Imperial Perfume robbery, and improperly allowed

Reece to offer perjurious testimony at trial that

contradicted his initial statements to the police.

Petitioner alleges that Reece’s in-court identification of

petitioner as one of the robbers was inconsistent with

Reece’s failure to give a detailed description of the

robbers in his 911 call on the night of the robbery.


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However, Reece’s testimony was not inconsistent with his

prior statements in the 911 call.      Reece’s failure to

provide a full description of the robbers at the time of the

911 call, as the call was made while the robbery was in

progress and Reece was hiding in the bathroom after being

shot, does not support the claim that Reece committed

perjury at trial.    Petitioner also fails to show that the

alleged suppression of the 911 call transcript prejudiced

him.    The alleged inconsistencies between Reece’s prior

statements to police and his trial testimony were explored

by defense counsel.    Reece was fully cross-examined at trial

about his prior statements in another police report, in

which Reece only described the robbers as “white males.”

The additional impeachment evidence in the 911 call

transcript would have done little to cast further doubt on

Reece’s in-court identification of petitioner.

       Petitioner also alleges that the government suppressed

exculpatory evidence regarding the Model Imperial Perfume

robbery.    Petitioner argues that the government suppressed a

police report that allegedly shows that three individuals in

a blue van were arrested in connection with the Model

Imperial Perfume robbery.     Although petitioner fails to

provide any documentation to support his claim, the




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undiscovered police report that petitioner cites1 seems to

be the same report that is cited by codefendant Robin

Tellier in his Section 2255 petition.         This document does

not present any evidence linking the detention of the three

individuals in the blue van to the Model Imperial robbery.

The report is therefore not exculpatory.


               C. Claims in April 2000 Amendments


      In petitioner’s 2000 amendments to the petition, he

adds several new claims of government misconduct.            None of

these claims was presented in petitioner’s timely-filed

first petition, nor do these claims relate back to the

filing date of the original petition under Rule 15(c)

because they do not arise out of any of the same conduct,

transactions, or occurrences set forth or attempted to be

set forth in the original pleading.         As with the claims

presented in petitioner’s February 1999 amendments,

petitioner does not allege any facts to support the

timeliness of these claims under Section 2255.           Moreover,

petitioner has not shown that he was prejudiced by the

alleged misconduct.

      Petitioner argues that the government improperly

offered into evidence the plea allocution of Michael
1
  The report is not included with petitioner’s petition, however it is
attached to codefendant Robin Tellier’s amended petition as Exhibit MMM.



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Ladgana, knowing that this allocution was based on a

defective indictment that was ultimately dismissed.

Petitioner alleges that at the time the allocution was

admitted, the government had an agreement with Ladgana to

dismiss the indictment against him because Ladgana was

wrongly charged as an adult instead of as a minor.         Although

petitioner’s name was redacted from the plea allocution,

petitioner argues that he was the only defendant charged

with the murder-for-hire to which Ladgana pleaded guilty and

that petitioner therefore was clearly implicated in the

improperly-admitted allocution.

     However, petitioner fails to show that this claim is

timely under 28 U.S.C. § 2255.        Furthermore, petitioner does

not show cause for failing to raise this claim on appeal.

The evidence supporting this claim was known to petitioner

as soon as the indictment against Ladgana was dismissed, yet

petitioner failed to raise this issue until April, 2000.

     Petitioner also claims that the government knowingly

elicited perjury from Basil Reece and Charles Schrader about

the Model Imperial Perfume robbery, which resulted in

petitioner’s wrongful conviction.       Petitioner now argues

that he is actually innocent of the Model Imperial Perfume

robbery and that, at the time of trial, the government was

aware that three other individuals driving a blue van had


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been arrested in connection with this robbery.        Petitioner

renews his argument that an undisclosed police report shows

that the three individuals in the van were arrested in

connection with the Model Imperial Perfume robbery.

     First, petitioner fails to show that his claim is

timely under 28 U.S.C. § 2255.        Petitioner does not explain

why this police report could not have been discovered

earlier through the exercise of due diligence, nor does

petitioner assert any facts to support a credible claim of

actual innocence.    See Doe v. Menefee, 391 F.3d 147, 161 (2d

Cir. 2004)(instructing “district courts faced with untimely

petitions in which the petitioner asserts his or her actual

innocence to determine, in each case, whether the petitioner

has presented a credible claim of actual innocence before

ruling on the legal issues of whether such a showing

provides a basis for equitable tolling and whether the

petitioner must also demonstrate that he or she pursued his

or her claim with reasonable diligence.”).        Furthermore,

this claim is without merit.     The report, as discussed in

Part III.B, supra, is not exculpatory, nor does it show that

Schrader or Reece committed perjury at trial.

     Finally, petitioner alleges that the government failed

to disclose the exculpatory statement of Dominic DeVito made

during the government’s pre-grand jury screening session.


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Petitioner alleges that the government wrongly deemed the

records containing the statement to be grand jury minutes in

order to protect them from disclosure.

Petitioner fails to explain the content of DeVito’s alleged

statement and does not explain what record contains this

statement or how the government wrongfully deemed the record

to be part of the grand jury minutes.       The only statement by

DeVito to which petitioner has previously referred in

challenging his conviction was made in regard to the Tina

Smith homicide.   To the extent that petitioner is referring

to this statement, which was contained in the grand jury

minutes, petitioner’s claim was already raised and denied on

direct appeal.    United States v. Tellier, Nos. 94 Cr. 1647,

94 Cr. 1687, 95 Cr. 1014, 94 Cr. 1451, at 12 (2d Cir. 1996)

(unpublished summary order)(holding that the government had

no obligation to turn over DeVito’s grand jury testimony to

the defense).


             D. Claims in January 2002 Amendments


     Petitioner asserts several new claims of government

misconduct in the 2002 amendments to his petition.

Petitioner asserts that the facts supporting these new

claims were discovered on September 28, 2001, when the FBI

responded to petitioner’s FOIA request with 1,511 pages of


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documents.    Petitioner does not explain why these documents

could not have been discovered prior to September 28, 2001

through the exercise of due diligence.         Petitioner also does

not allege when his FOIA request was filed.2

      Courts have found that a petitioner exercised due

diligence by making a FOIA request within one year of the

date that petitioner’s conviction became final, see United

States v. Smith, No. 90-296-18, 2000 WL 1268254, at *1 (E.D.

Pa. Aug. 28, 2000); Edmond v. United States Attorney,          959 F.


Supp. 1, 3-4 (D.D.C. 1 997).   In contrast, a petitioner’s

failure to make a FOIA request within the limitations

period, has been found to “suggest[], although it does not

necessarily prove, that there has not been the requisite due

diligence.”    Ruiz v. United States, 221 F. Supp. 2d 66,

77 (D. Mass. 2002)(holding that petitioner who waited

approximately eighteen months to file a FOIA request did not

exercise due diligence); United States v. Harris, No. 97-34-

P-H, 1999 WL 33117115, at *2 (D. Me. Nov. 1, 1999)(finding

that petitioner who waited approximately eighteen months to

file a FOIA request did not exercise due diligence)

(magistrate judge opinion).       Petitioner does not allege that

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  Petitioner does not state when the FOIA request that resulted in the
release of these documents was filed. Petitioner does state in a letter
dated September 5, 2000 that he filed a FOIA request with the Justice
Department prior to the filing of his initial Section 2255 petition in
October, 1997. It is not clear if the documents released on September
28, 2001 were received pursuant to petitioner’s 1997 FOIA request.



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this request was filed within one year of the date that

petitioner’s conviction became final.       Petitioner does not

allege that the government failed to respond to the FOIA

request in a timely manner, such as to impede the timely

filing of these claims.     In short, petitioner has failed to

allege any facts to support the timeliness of these claims

under Section 2255.    Petitioner has also failed to show that

he was prejudiced by the government’s failure to disclose

these materials.

     Petitioner first alleges that the government suppressed

exculpatory evidence relating to the Tina Smith murder.

Petitioner alleges that on September 28, 2001, the FBI

released to him a Medical Examiner’s serology lab report on

“Michele Johnson,” who petitioner contends is the same

person as Tina Smith.    The report states that four specimens

from the decedent’s body were tested for semen and that the

tests came back negative.     Petitioner contends that this

report casts doubt on William D’Angelo’s testimony that

petitioner and the decedent engaged in sexual relations on

the night of the homicide.     Petitioner also uncovered a

report that states that the FBI lab was unable to reach any

conclusion as to the origin of the hairs found on the

clothing that the decedent was wearing at the time of her

death.


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     However, this evidence is not exculpatory.         The absence

of semen in these samples does not mean that petitioner and

Smith did not engage in sexual relations of some sort, as

D’Angelo testified, on the night of the homicide.         The

inconclusive FBI tests of the hairs similarly do not

contradict the government’s theory of the case or the

evidence presented at trial.

     Petitioner also alleges that the government suppressed

exculpatory evidence relating to the Cassandra Designs,

Dyansen gallery, and Brooklyn Antonovich Furs robberies.

Petitioner alleges that on September 28, 2001 the FBI

released to him a 911 call transcript in which a female

caller identified the perpetrators of the Cassandra Designs

robbery as two black males driving a Monte Carlo.         At the

same time, the FBI also released a transcript of 911 calls

made by witnesses to the Dyansen gallery robbery.         The

second caller on the 911 transcript stated that three or

four black and white men were the robbers.        The third caller

stated that he observed that the perpetrators were three

black males.   Finally, petitioner alleges that the

government suppressed a police follow-up report relating to

the Brooklyn Antonovich Furs robbery, in which an eyewitness

to the robbery stated that four of the five robbers wore

masks.   Petitioner argues that this report would have


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impeached witness Thomas Hawco’s testimony identifying the

skin color of the robbers.

     However, petitioner fails to show that he was

prejudiced by these alleged nondisclosures.        First,

petitioner was not charged with the Dyansen gallery robbery,

nor did the government allege in the racketeering charge

against him that petitioner had any involvement in this

crime.   Petitioner therefore cannot show prejudice resulting

from the nondisclosure of evidence related to this crime.

Second, as for the 911 transcripts related to the Cassandra

Designs robbery and the Brooklyn Antonovich Furs robbery,

these crimes were two of more than a dozen predicate acts

set forth in the racketeering charge in the indictment.             The

errors alleged by petitioner here and elsewhere in his

motion to vacate his conviction do not affect the jury’s

findings that petitioner committed the two predicate acts of

conspiring to rob the Antonovich Furs store in Manhattan and

conspiring to rob Consumer Distributors in Queens.

Therefore, the government’s alleged failure to disclose the

911 transcripts would not have altered the verdict against

petitioner on the racketeering charges.


                      V.Discovery Request


     Petitioner requests discovery in this case in order to


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investigate fully his claims of government misconduct.

Petitioner has failed to show good cause for allowing him to

obtain the discovery he seeks.


                            CONCLUSION


         For the foregoing reasons, petitioner’s request for

discovery and petitioner’s motion are denied.


Dated:     New York, New York
           September 20, 2006


                                      S/__________________________
                                        MIRIAM GOLDMAN CEDARBAUM
                                      United States District Judge




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